Case 1:25-cv-00257-SDN Document6 Filed 06/10/25 Pagelof2 PagelD#: 59
Case 1:25-cv-00257-SDN Document3 Filed 05/20/25 Pageiof2 PagelD #: 49

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

i yi for the
) Rl (5 NA [ District of Maine

United States Department of Agriculture

Plaintiff(s)
V.

JENNIFER M DAVIS

Civil Action No. 2:25-cv-00165-JAW

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Teo ao

Winslow, ME 04901

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: .
Kevin J Crosman, Esq.
Jensen Baird Gardner & Henry,
Ten Free Street,
P.O. Box 4510,
Portland, ME 04112-4510

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: 05/20/2025

Eric M. Storms
Clerk, U.S. District Court
Case 1:25-cv-00257-SDN Document6 Filed 06/10/25 Page2of2 PagelD #: 60
Case 1:25-cv-00257-SDN Document3 Filed 05/20/25 Page2of2 PagelD#: 50

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

This summons for (name of individual and title, if any) Tewni fer mM, Oevis
was received by me on (date) Ss / 27] 25

% I personally served the summons on the individual at (place) gq Unity Rd. Beuton, HE
on (date) MAY 2 7 2025 or

of abode with (name) ae

11 I left the summons at the individual’s residence or usual pl

, a pers f suitable age and discretio o resides there,

on (date) , and mailed a cepy to the individual’s last n address; or

[1 I served the summons on (name of,individual)

designated by law to accept ice of process on behalf offname of organization)
on (date) ; or
e summons were ee a 5 OF
wv

, who is

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

pate: MAY 2.7 2025 Ab. Wa

Server's signatude

ALLEN R. WOOD
DEPUTY SHERIFF

RENNE Png Pd tabi tide ©

Server’s address

Additional information regarding attempted service, etc:
